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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


ARKK FOOD COMPANY,
a Michigan corporation,

         Plaintiff,                                CASE NO.: 8:21-CV-1571
vs.

TOMATO THYME CORPORATION,
a Florida corporation,

      Defendant.
_______________________________/

                                        COMPLAINT

         Plaintiff, ARKK FOOD COMPANY, a Michigan corporation, hereby sues

Defendant, TOMATO THYME CORPORATION, a Florida corporation, and alleges:

                                Jurisdiction, Parties & Venue

         1.       This is an action for damages in excess of $75,000, exclusive of interest,

costs and attorneys’ fees.

         2.       Plaintiff, ARKK FOOD COMPANY ("ARKK"), is a corporation

incorporated under the laws of Michigan and maintains its principal place of

business in Bloomfield Hills, Michigan.

         3.       Defendant, TOMATO THYME CORPORATION ("Tomato Thyme"), is

a corporation incorporated under the laws of Florida and maintains its principal

place of business in Hillsborough County, Florida.


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         4.       This Court has diversity jurisdiction over this matter pursuant to Title

28 U.S.C. § 1332(a)(1).

         5.       Venue is appropriate in the Middle District of Florida pursuant to Title

28 U.S.C. § 1391(b)(1) or (2), as Defendant is a resident of this District and a

substantial part of the events or omissions giving rise to the claims occurred in this

District.

                                     General Allegations

         6.       The Farmers to Families Food Box program is part of the Coronavirus

Food Assistance Program, which was developed in response to the COVID-19

pandemic. Using authority provided by the Families First Coronavirus Response

Act, the USDA partnered with national, regional and local distributors to purchase

and distribute agricultural products to Americans in need.

         7.       Tomato Thyme contracted with the USDA to supply food boxes for the

Farmers to Families Food Box Program.

         8.       Tomato Thyme contracted with ARKK to purchase meat and poultry

products that were to be incorporated into Tomato Thyme's food boxes for the

Farmers to Families Food Box Program.

         9.       Specifically, on or about November 6, 2020, ARKK and Tomato Thyme

entered into a Subcontractor/Supplier Agreement (the "Agreement") for ARKK to




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supply meat and poultry products. A true and correct copy of the Agreement is

attached hereto as Exhibit A.

         10.      ARKK does not have in its possession a fully executed copy of the

Agreement. Upon information and belief, a fully executed copy is Tomato Thyme’s

possession and will be requested during discovery.

         11.      ARKK worked diligently with Tomato Thyme to develop a customized

meat supply program that was specially tailored to the combination boxes that

Tomato Thyme distributed for the Farmers to Families Food Box Program.

         12.      Tomato Thyme issued various purchase orders to ARKK which

specified the food products, quantity, price and delivery location.

         13.      During the first three weeks of November 2020, ARKK delivered

shipments of meat and poultry products to Tomato Thyme pursuant to the

Agreement and purchase orders issued by Tomato Thyme.

         14.      The total price of ARKK's shipments that were actually delivered

through November 24, 2020 exceeded $1.9 million.

         15.      These shipments were delivered in full and on time, with only minor

exceptions which were promptly addressed and approved without complaint by

Tomato Thyme.




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         16.      However, on November 25, 2020, Tomato Thyme emailed AFC and

unilaterally canceled pending purchase orders with scheduled deliveries after

December 4, 2020.

         17.      The following day, Tomato Thyme again emailed AFC to reiterate that

no food deliveries after December 4, 2020 would be accepted or paid for. These

purchase orders included:

                        a. 10797, for $82,940.00;

                        b. 10801, for $82,940.00;

                        c. 10808, for $82,940.00;

                        d. 10809, for $82,940.00;

                        e. 10810, for $82,940.00;

                        f. 10817, for $82,940.00;

                        g. 10818, for $82,940.00;

                        h. 10819, for $82,940.00;

                        i. 10821, for $82,940.00;

                        j. 10823, for $82,940.00;

                        k. 10824, for $84,480.00;

                        l. 10825, for $84,480.00;

                        m. 10826, for $82,940.00;

                        n. 10827, for $82,940.00;


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                        o. 10828, for $74,870.40

                        p. 10829, for $82,940.00;

                        q. 10831, for $82,940.00; and

                        r. 10833, for $82,610;

(collectively, "Purchase Orders").

         18.      True and correct copies of the cancelled Purchase Orders are attached

hereto as Composite Exhibit B.

         19.       Tomato Thyme unilaterally cancelled the Purchase Orders because it

was (i) offered meat and poultry products at a cheaper price and (ii) outsourced a

portion of their USDA contract to a third-party that procured meat and poultry

products from a different supplier.

         20.      Prior to Tomato Thyme’s November 25, 2020 cancellation of the

Purchase Orders, ARKK partially performed its obligations under the Purchase

Orders.

         21.      Tomato Thyme also cancelled the Agreement without complying with

the termination procedure set forth therein.

         22.      Tomato Thyme's unilateral cancellation of the Purchase Orders and the

Agreement constituted material breaches.

         23.      All conditions precedent to maintaining this action have been satisfied

or have been waived.


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                                  Count I – Breach of Contract

         24.       Plaintiff restates and realleges the allegations at paragraphs 1-23

above.

         25.      Tomato Thyme materially breached the Agreement by unilaterally

cancelling the Purchase Orders and the Agreement without providing at least thirty

(30) days written notice for cancellation.

         26.      As a result of Tomato Thyme's material breach, ARKK has suffered

damages. Such damages include storage costs, freight costs, the difference between

the resale price and the contract price for food items that were resold by ARKK, lost

profits, as well as the full contract price for food items which ARKK was unable to

resell at a reasonable price despite reasonable efforts to resell them.

         WHEREFORE, Plaintiff, ARKK FOOD COMPANY, requests that the Court

enter      a    Judgment    for    damages   against   Defendant,   TOMATO    THYME

CORPORATION, award costs and prejudgment interest, and all further relief that

the Court deems necessary and proper.

                            Count II – Breach of Purchase Orders

         27.      Plaintiff restates and realleges the allegations at paragraphs 1-23

above.

         28.      Tomato Thyme issued the Purchase Orders to ARKK which ARKK

accepted.


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         29.      ARKK’s acceptance of the Purchase Orders created an enforceable

contract between Tomato Thyme and ARKK for the delivery of meat and poultry

products in accordance with the terms set forth in the Purchase Orders.

         30.      Tomato Thyme materially breached the Purchase Orders by

unilaterally cancelling the Purchase Orders; by advising ARKK that it would refuse

any attempted deliveries of any meat and poultry products that were scheduled for

delivery after December 4, 2020; and by failing to pay the price set forth in the

Purchase Orders.

         31.       As a result of Tomato Thyme's material breach, ARKK has suffered

damages. Such damages include storage costs, freight costs, the difference between

the resale price and the contract price for food items that were resold by ARKK, lost

profits, as well as the full contract price for food items which ARKK was unable to

resell at a reasonable price despite reasonable efforts to resell them.

         WHEREFORE, Plaintiff, ARKK FOOD COMPANY, requests that the Court

enter      a    Judgment    for    damages   against   Defendant,    TOMATO       THYME

CORPORATION, award costs and prejudgment interest, and all further relief that

the Court deems necessary and proper.

                                  DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury on all issues so triable as a matter of law.




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Dated this 30th day of June, 2021.

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